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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

MICASH, INC.                                   §
                                               §
       v.                                      §
                                                          Case No. 2:12-CV-248-JRG
                                               §
NETSPEND CORPORATION                           §

MICASH, INC.                                   §
                                               §
       v.                                      §          Case No. 2:12-CV-250-JRG
                                               §
PRECASH, INC.                                  §

                       ORDER OF DISMISSAL WITH PREJUDICE

       CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal with

Prejudice of all claims and counterclaims asserted between plaintiff, MiCash, Inc., and

defendant, NetSpend Corporation, in this case – Case No. 2:12-CV-248-JRG – and the Court

being of the opinion that said motion should be GRANTED, it is hereby.

       ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit between

plaintiff, MiCash, Inc., and defendant, NetSpend Corporation, are hereby dismissed with

prejudice, and all counterclaims are dismissed as moot, subject to the terms of that certain

agreement entitled “SETTLEMENT AGREEMENT” and dated August 12, 2013.

       It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that

incurred them.

       Nothing in this Order shall affect the claims and counterclaims asserted between Plaintiff

MiCash, Inc. and Defendant PreCash, Inc. in consolidated Case No. 2:12-CV-250-JRG.
       So Ordered and Signed on this


       Aug 15, 2013
